Case 2:17-cv-00671-JRG Document 88 Filed 06/23/18 Page 1 of 4 PageID #: 2181



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

                                                 )
 TESSERA ADVANCED TECHNOLOGIES,                  )
 INC.,                                           )
                                                 )       No. 2:17-cv-671-JRG
 Plaintiff,                                      )
                                                 )
                       v.                        )       JURY TRIAL DEMANDED
                                                 )
 SAMSUNG ELECTRONICS CO., LTD. and               )
 SAMSUNG ELECTRONICS AMERICA,                    )
 INC.,                                           )
                                                 )
 Defendants.                                     )
                                                 )


  RESPONSE TO DEFENDANTS’ NOTICES REGARDING DECISION IN RELATED
         ITC INVESTIGATION AND INITIATION OF ARBITRATION

        Plaintiff Tessera Advanced Technologies, Inc. (“Tessera” or “Plaintiff”) respectfully

submits this Response to Defendants Samsung Electronics Co., Ltd. (“SEC”) and Samsung

Electronics America, Inc.’s (“SEA”) (collectively, “Samsung” or “Defendants”) Notices

Regarding Decision in Related ITC Investigation and Initiation of Arbitration. (D.I. 76 & 86.)

The decision that issued in the International Trade Commission (“ITC”) does not impact the

Court’s consideration of Samsung’s Motion to Stay for at three reasons.

        First, the ITC applied a completely different legal standard than what this Court would

apply, making the decision readily distinguishable. In terminating the ITC proceedings, the

Administrative Law Judge applied an extremely low standard—he found that Samsung’s assertion

of arbitrability was not “wholly groundless.” But that standard does not apply to Samsung’s

Motion to Stay before this Court. To resolve Samsung’s Motion, the Court must determine:

“‘whether there is a written agreement to arbitrate’ [and] ‘whether any of the issues raised are
Case 2:17-cv-00671-JRG Document 88 Filed 06/23/18 Page 2 of 4 PageID #: 2182



within the reach of that agreement.’” Samsung Mot. at 5 (citing Complaint of Hornbeck Offshore

(1984) Corp., 981 F.2d 752, 754 (5th Cir. 1993)). Accordingly, while the Administrative Law

Judge only needed to determine whether or not Samsung’s arguments were wholly groundless, the

Court must decide whether Samsung’s arguments are correct.

       Second, ITC decisions are not legally binding on federal district courts. See, e.g., Rapistan

Sys. Advertising Corp. v. Daifuki Am. Corp., No. A-03-CA-682-LY, 2006 U.S. Dist. LEXIS

100612, at *8 (W.D. Tex. Feb. 9, 2006) (“Even Federal Circuit decisions regarding ITC

determinations have no preclusive effect on subsequent litigation.”); Tandon Corp. v. ITC, 831

F.2d 1017 (Fed. Cir. 1987) (“Therefore, it seems clear that any disposition of a Commission action

by a Federal Court should not have a res judicata or collateral estoppel effect in cases before such

courts.”). Therefore, the Court is free to evaluate Samsung’s motion based on its own judgment,

independent of the ITC’s ruling.

       Third, as set forth in Tessera’s petition for review filed at the ITC, the Administrative Law

Judge’s reasoning and conclusions were simply wrong, both as a matter of fact and law. Among

other things, the Administrative Law Judge ignored that the arbitration clause in the Samsung-

Matsushita agreement expressly limits the requirement to arbitrate only to the “Parties,” an

expressly defined term that only includes Samsung and Matsushita, and not their successors or

assigns. Tessera never agreed to arbitration and the plain terms of the agreement do not extend

the arbitration clause to non-signatories who are not “Parties.” For the Court’s convenience, the

public version of Tessera’s petition for review is attached to this response.




                                                 2
Case 2:17-cv-00671-JRG Document 88 Filed 06/23/18 Page 3 of 4 PageID #: 2183



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Case 2:17-cv-00671-JRG Document 88 Filed 06/23/18 Page 4 of 4 PageID #: 2184



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically

in compliance with Local Rule CV-5(a). As such, this notice was served on all counsel of

record who have consented to electronic service as this district requires in accordance with

Local Rule CV-5(a)(3)(A) on this 23rd day of June 2018.

                                                            /s/ Claire Henry




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